Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43 Desc Main
Document Page1of6

TMT MU nLceMircL fem comes (ete ttiatan dass a

Debtor 1 THEODORE A. GREEN

Debtor 2
(Spouse, if flling)

United States Bankruptcy Court for the: Eastern District of Pennsylvania [+]
Case number 20-1 2303-AMC

Official Form 41081
Notice of Mortgage Payment Change 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form te give notice of any changes in the installment payment amount, File this form
as 4 supplement to your proof of claim at least 21 days before the new payment amount is due. Sec Bankruptcy Rule 3002.1.

Name of creditor: Elizon Master Participation Trust |, Court claim no, {if known): 4

US Bank Trust National Association,

as Owner Trustee
Last 4 digits of any number you use to Date of payment change:

identify the debtor's account: 6 8 7 1 Must be at least 21 days after date 02/01/2025
of this notice

New total payment: $ 1,059.76
Principal, interest, and escrow, if any

Ea Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

CL No

Wf Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

Current escrow payment: $ 505.85 New escrow payment: § 544.91

Mortgage Payment Adjustment

2. Will the debtor’s principai and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

No

C1 Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is net
attached, explain why:

Current interest rate: % New interest rate: %

Current principal and interest payment: 5 New principal and interest payment:

Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

4 No

L} Yes. Attach a copy of any documents describing the basis far the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.}

Reason for change:

Current mortgage payment: $ New mortgage payment: §

Official Form 41081 Notice of Mortgage Payment Change page 1
Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43 Desc Main
Document Page 2 of 6

bebtor1 THEODORE A. GREEN Case number tirtnewn 20-12303-AMC

First Name Middle Nama Las Name

Ez = Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Gheck the appropriate box.
C] | am the creditor,

aw | am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

X/s/EMMANUEL J. ARGENTIERI Date 01/02/2025
Signature
Print: Emmanuel J. Argentieri tite Attorney-at-Law
First Name Middie Name Last Name

Company Romano Garubo & Argentieri

Address 52 Newton Avenue, P.O. Box 456

Number Street
Woodbury NJ 08096
Gity State ZIP Code
Contact phone 856-384-1515 Emall eargentiori@rgalegal.com

Official Form 41681 Notice of Mortgage Payment Change page 2
Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43 Desc Main
Document Page 3 of 6

a TI/21/2024 OUR INFO
bA Rushmor PLEN GO NOT sENO WML TO THIS ADDAESS oan cishmmorese icing.com
i vu 2 ie § BOC . rvicing.c

2) SEFVICING® sessions,
YOUR INFO
CASE NUMBER
2012303

LOAN NUMBER
THEODORE A. GREEN
923 JACKSON STREET

SHARON HILL,PA 19079 PROPERTY ADDRESS

923 JACKSON STREET
SHARON HILL, PA19079

Dear THEODORE A, GREEN,
An escrow analysis was performed on the above referenced account

Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escraw account disclosure
statement is for infermational purposes only and should net be construed as an attempt to collect a debt.

If you are represented by an attorney in your bankruptcy, please forward a copy of this letter ta such attorney
provide such attorney's name, address and telephone number to us.

If you hav. any questions, please call cur Bankruptcy Department at 877-888-4623, Our hours of operation are Monday
through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at wwwrushmereservicing.com for more information.

Sincerely,
Rushmore Servicing

Enclosure

Rushmore Servicing’ and Mr. Cooper: are brand names for Nationstar Martgage LLC

Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
callect, assess, or recover a claim against, or demand payment from, any, individual protected by the U.S. Bankruptcy
Code. if this account has been Ischarged ina bankruptcy proceeding, be advised this communication is for
informational Ree only and not an attempt to collect a debt against yey however, the servicer/lender reserves
the right to exercise the legal rights only against the propert securing the loan obligation, including the right ta
foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
to collect agalnst the borrower persanally or an attempt to revive personal liability, SAE oa
I you are & Suctessa) in interest freceived ine property from a relative Tnrgugn Gear, devise, or divorce. and you are not a
borcawer on (he toan) that das not assured, or otherw4e became obligated om tie dent, iis communication is for
informational purposes only and is not an attempt to collect 3 debt from you personally

DOL
Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43 Desc Main

Document Page 4of6
Escrow Account Disclosure Statement

py] RUSHINOTE Pi EN 10s ao0aes
2% Servic DIV” seo Postal Hand Customer Service: 877-888-4606
a Monday through Friday fram 7 a.m. to 8 p.m. [CT]

Tax/Insurance: 800-303-2513
Monday through Friday fram 8 a.m. to 9 p.m. (ET}

Your Laan Number:
THEODORE A. GREEN ‘
taternent Date: 1V21/202-
923 JACKSON STREET ° eevee.

SHARON HiLL,PA 19079

Why am ! Rushmore Servicing completed an analysis of your escrow account to ensure that the account fs funded
receiving this? correctly, determing any surplus or shortage, and adjust your monthly payrnent accordingly, Rushmore
Servicing may maintain an escrow cushion equal to tvo manths' estimated taxes and insurance (unless limited
by your Ioan documents or state law}. This measure helps to void a negative balance in the event of changing
tax and insurance amounts.

What does this The escrow analysis is based on the assumption that your lean is current, and all past due payments have been
mean for me? made. Based on this acsumptron, your Escrow Account is prajected to have more money than needed,
resulting ina surplus of $3,641.05. if you are behind on your payments this is not a true surplus,

What dol Please note that effective 02/01/2025, your nev: total monthly aaymnent will oe $1,059.76.
need to do?
nt I
Total Payment cons oe Payment Changes See
PRINCIPAL AND INTEREST $514.85 $0,00 $514.85
ESCROW $505.85 $39.06 $544.91
Total Payment $1,020.70 $39.06 $1,059.76

See below for surplus calcuigtion

What is o Surplus? A surplus is the ditference between the lowest projected balance and the minimum required balance of
your acvaunt for the coming ‘ear, as shown below Please see second page for coming year details.

Minimum Required Balance Lowest Projected Balance

$1,089.82 $4,730.87

|

Surplus Amount $3,641.05

Piease see the Coming Year Projections tabie on the back fer more details,

Anticipated Annual

Escrow Payment Current Annual

Breakdown Disbursement Annual Change Dishursement
COUNTY Tax $288.46 $14.43 $302.89
SCHOOL TAX $3,007.92 $7519 $3,083.11
TOWN TAX $1,368.34 $91.59 $1,459.93
HAZARD SFR $7,385.00 $310.00 $1,693.00
Annual Total $6,047.72 $491.21 $6,538.93

if you have questions about chariges to your property taxes or homeowners’ insurance premiums, please contact your local toxing
outhority or insurance provides. For more information about your loan, please sign in at www.rushmoreservicing.cam.

Rushmore Servicing’ and Mr. Coaper’ are brand nares far Natonstar Mortgage LLC.

Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
collect, assess, or recover a claim against, or demand payment from, any individual protected by the U,5. Bankruptcy
Coda. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
the right to exercise the legal rights only against the property securing the loan obligation, including the right to
foreclose its I[en under appropriate circumstances. Nothing in this communleation shall be construed as an attempt
to collect against the borrower personally or an attempt to revive personal liability. Bae ages
If you are a successor in Interest [received the praperty fram a relative thraugh death, devise, or divorce, and you are not a
borrower on the loan} that has not assumed, or otherwise become obligated on the debt, this communication ts for
informational purposes only and is net an attempt to collect a debt fram you personally,

56-8
Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43 Desc Main
Document Page 5of6

The change in your escrow payment™ may be based on one or more of the following factors:

PAYMENT(S} TAXES INSURANCE
* Monthly payment(s) received were less than « Tas rate and/or assessed value changed » Premium changed

or greater than expected « Exemption status lest or changed ® Coverage changed
« Monthly payment(s) received carlier or later ¢ Suppiemental/Delinquent tax paid « Additional premium paid

than expect ® Paid «action orlater than «© peer « Paid carliar op lator than ccpected
© Proviias Overage retuned lO escrow 6 # Presuurn was not paid
6 Preovious deticiencyshortage net pad entirely # Tax refund received @ Premium refune re ceived

a New Lay cseruvy requirement paid .

Force plac UGnSuranc. Sremidin pact

Prior Year Account History and Caming Year Projections

This is a staternent of the actual activity in your escrow account from 12/23 through 01/25. This statement iternizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments,
disbursements, and balances for the coming year. The projections from your previous escrow analysis are included with the actual
payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you
can determine where a difference may have occurred. When applicable, the letter 'E' beside anamount indicates that a payment or
disbursement has not yet occurred but is estimated to occur as shown.

Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year, Under
Federal Law (RESPA), the lawest monthly balance in your escrow account should be no less than $1,089.82 or 1/6th of the total annual
projected disbursement from your escrow account, unless your mortgage documents or state law specifiesatherwise. Your projected
estimated lowest account balance of $4,730.87 will be reached in August 2025. When the minimum required balance is subtracted
from oe. lawest projected balance, an Escrow Surplus results in the ammount of $3,641.05. These amounts are indicated with an
arrow [<),

This escrow analysis is based on the assumption that dif escraw gdvences made on your loan prior to your bankruptcy filing

date are included in your bonkruptey plan and will be paid in the pian, This analysis considers insurance, taxes and other
amounts that will come due after the filling of your bankruptcy case.

Month PS eee? peas D seaieerent Disheeatnent Description | Projected | ,Actual |
Start $2,144.82 ($5,180.63)
$0.00 $750.30" $0.00 $0.00 $2,144.02 fhe ASU 33
$000 $2,869.95" $0.90 $0.00 Esc deposit $2.144.B2 21,580.38)
$0.00 $730.30" $0.00 $0.00 $2,144.82 $860.08)
$0.00 $715.50" $0.00 $0.00 Esc deposit $2144.82 ($134.59)
$503.98 $1,236 15 $0.00 $302.09" * COUNTY TAX $2648.80 $798.68
$0.00 $523.34" $0.00 $0.00 Esc deposit $2,648.80 $1,322.02
$503.98 $505.95 $286.46 $0.00 COUNTY TAX $2,664.32 $1,827.87
$0.00 $0.00 $1,568.34 $1459.93" TOWN TAX $1,495.98 $367.94
$503.98 $1,236.15"E $0.00 $0.00 $1,999.96 $1,604.09
$503.98 $505 Q5°E $0.00 $000 $2,503.94 $2,109.94,
$505.98 $1.236.1S°F $0.00 $000 $3,00792 $3.346,09
F503,93 51.236.15"E $0.00 $0.00 $3,511,530 $4.582.2+
$503 98 $1,236.15 $3,007,92 $3,0831) + SCHOOL TAX $1007.96 $2,735.28
$503.98 $1.236.15°E $0.00 $0.00 $1511.94 $3 971AS
$503.98 $505,.65°E £0.00 $0.00 $2,015.92 $4,477.28
$505.98 $505.84 $0.00 $1693.00" + $2,019.90
00 $1460.60 $3.00 $c 00 Hinge
$3.03 38 $505.85 T1583 GG 2000 i
i RxISS ote t0o0 $E.0G $2 ee 6 fe 6 4%
$6,047.76 [| $17'481,99 $6,047.72 $6,538.93 Total $2,144.86 $5,762.43
j ae Required
o a rrent
vfonth| PAVHERE pineeeHene Description Sslanes | _Bglaneg
: Start $5,762.43 $2,121.38
02/25 $544.91 $6.00 $6307.34 $2,066 28
03/25 $544.9) $302.89 COUNTY TAY. $6,549.36 $2,908.21
03/25 £0.00 $1,459.93 TOWN TAX $5,089 43 $1,448.38
04/25 $544.51 $0,00 $5,624.34 $1,993.29
O5/25 $544.91 $0.00 $6,179.25 $2,538.20
06/25 $5491 $0.00 $6,724.16 $3,083.11
OWS $544.91 $0.00 $7269.07 $3,628.02
Oa/25 $5491 $3,083.11 SCHOOL TAX $4,730.87 $1,089.82<
09/25 $544.91 $0.00 $5,275 78 $1,634.73
10/25 $544.91 $0,00 $5,620.69 $2,179.64
1W25 $$44.91 $0.00 $6,365.60 $2,724.55
12/25 $544.9) $1,693.00 HAZARD SFR $5,217.51 $1,576.46
oe $544.9) 40,00 $5,702,462 $2,121.37
Total $6,536.92 $6.538,93 Total $5,762.42 _|

ustment - The Pricr Year Account History ancl Coming Year Projections section of the Annual Escrow
Account Disclosure Statement may contain a ling itom called “Bankruptey Adjustment’, This arnount is 4 credit based
upon the unpaid portion of the escrow funds listed on the proof of claim te be paid through the Chapter 13 plan. The
amount of the credit is calculated and applied to reach the minimum required balance fer the escrow account as
allowed under the laan documents and applicable non-bankruptcy faw. The credit may not represent the total
outstanding amount of escro.. funds owed in the proof of claim out ensures that any escrow funds fisted on the proof
of claim to be paid through the plan will net Se collected through the escrow shortage or surplus listed in the Annual
Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as
a credit te reach the required minimum account balance.

You will receive an Annual Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the
next escrow analysis cycle, However, you should keep this staternent for your own records for comparison. If a previous
escrow analysis statement was sent to you by your previous servicer, please refer to that statement for comparison
purposes, If you have any questions, please call Karla Ibarra-Murrieta at (877)-888-4623. Our hours of operation are
Monday through Friday frarn 8 a.m. to S p.m. (CT). Visit us on the web at wwaw.rushmoreservicing.cem for more
information.

Note: Any disbursernents listed after the date of this statement are assumed to be projected or estimated.
Case 20-12303-amc Doc Filed 01/02/25 Entered 01/02/25 10:39:43
Document Page 6 of 6

UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Desc Main

In Re:

THEODORE A. GREEN :
XXX-XX-6464 :-CHAPTER 13
Debtor. :>CASE NO, 20-12303-AMC

CERTIFICATION OF SERVICE

I hereby certify that service upon all interested parties, indicated below, was made by
sending true and correct copies of Elizon Master Participation Trust 1, US Bank Trust National

Association, as Owner Trustee’s notice of payment change via regular mail to:

Date Served: January 2, 2025

Chapter 13 Trusiee

Scott F. Waterman

Chapter 13 Trustee

2901 St. Lawrence Avenue

Suite 100

Reading. PA 19606 - Only served Via ECF Filing

Theodore Green
923 Jackson Street
Sharon Hill, Pennsylvania 19079

United States Trustee

U.S. Trustee’s Office

Robert N.C. Nix Federal Building

Suite 320

Philadelphia, PA 19107

US TRUSTEE- Only served Via ECF Filing

Erik B, Jensen

1500 Walnut Street

Suite 1510

Philadelphia, PA 19102

ATTORNEY FOR DEBTOR- Only served Via ECF Filing

I hereby certify under penalty of perjury that the foregoing it true and correct.

Dated: January 2, 2025

/S/EMMANUEL J. ARGENTIERI

ROMANO GARUBO & ARGENTIERT EMMANUEL J, ARGENTIERI

Emmanuel J. Argentieri. [squire/59264
52 Newton Avenue. P.O. Box 456
Woodbury. New Jersey 08096

(856) 384-1515
eargentiericérgalegal. com
